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                                         May 30, 2024

Via ECF

The Honorable Judge Edward J. Davila
United States Northern District Court of California
450 Golden Gate Avenue
San Francisco, CA 94102

         Re: USA v. Duong [5:22-cr-00144-EJD]
             Sentencing Memo - Supplemental Letters of Character


Dear Judge Davila,

         Please find attached two supplemental Letters on behalf of HUNG DUONG.

         Thank you.



                                             Sincerely,

                                                    /s/
                                             Christopher J. Cannon
                                             Attorney for HUNG DUONG

[Enc.]
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Honorable Edward J. Davila,



I appreciate you taking the time to read this letter of character for my friend Hung Duong. I’ve known Hung now
for 22 years. I know its been 22 years because 3 months later my daughter was born. Luckily for me in my career,
Hung was my manager. From his leadership he drove me to become a powerhouse in our industry. He knows how
to motivate and get the best out of people from all walks of life and beliefs. I won many awards in our industry, and
I can honestly say a large portion of my success was because of his leadership and knowing exactly how to get the
best out of me. Hung left the company 4-5 years after I started. And when most people move on and forget about
each other when they leave a company, Hung and I continued to stay friends and someone I can call one of my best
friends.

There’s been many times that I had a hard time with life or in my relationships. And every time I needed someone;
Hung was always there. He would stay out late drinking coffee with me at Dennys, IHOP or a coffee shop playing
cards or board games, just to keep my mind off my problems.

Me being Mexican and Hung being Vietnamese, I still asked Hung to be a Padrino to my daughters Quinceanera.
(15th Birthday). I shared that he would financially be a sponsor for an item of my daughter’s party. Hung didn’t
think twice and said of course I’d be a padrino, what am I sponsoring? Not knowing the Mexican heritage or why
he has to pay for something. That is just one example of the kind of guy he is. He was so excited he showed up a
day early to her Quinceanera.

I can think of the many times Hung has been there for me. So, taking the time to type this letter is something I’m
passionate about. I’m asking if you can find it in you to give my friend a lighter sentence. I’m not aware of all the
details of this situation. But knowing the character of Hung, and his willingness to help others, I’m sure this was a
mistake of bad judgement. And making a very bad decision. Hung has a young son and wife that depend on him
tremendously. Again, I ask for you to consider a lighter sentence and more community work for his sentence.

I’m available if needed or if you have any further questions about my friend Hung.

Rick Flores
CEO – Owner
Pacific Finders
408-529-4971
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Dear Honorable Edward J. Davila United States District Court for the Northern District of
California

I am writing to you in enthusiastic support of my dear friend. I have known Hung for about
four years and have had the pleasure of witnessing his remarkable talents and qualities
firsthand. A individual who has demonstrated exceptional qualities as a devoted father,
successful businessman, and caring friend.

Hung is a truly exceptional individual with a rare combination of skills, and personal
qualities that make Hung an invaluable asset to many other .Hung is a shining example of
integrity and compassion.

He consistently guides people towards making ethical decisions and warns them of
potential financial pitfalls. He prioritizes people's well-being over personal financial gains,
often setting aside opportunities that may compromise his values. His selflessness and
empathy are truly inspiring.

Hung has a unique ability to connect with people and understand their needs. He
possesses innovative business ideas that have the potential to positively impact countless
families. His insights are invaluable, and his leadership skills are evident in the way he
motivates those around him.

One of Hung's most impressive qualities is his unwavering trustworthiness. People
confidently entrust him with their finances, knowing that he will handle them with honesty
and care. His reputation for integrity is impeccable.

As a father, Hung has consistently shown a loving to the wellbeing to his family especially
to his son. His love, support, and guidance have been a nurturing for his family. Hung
dedication to his son Eight years old Ryan growth, education, and happiness is truly
commendable, and his influence as a positive role model is evident in the strong bond he
shares with his son. Ryan love his dad very much and need him around for his love and
support.

Hope this letter give you better understanding who Hung really is. Overall he a great person
with sense of humor, fun to be around with.



Sincerely;

Tammy Nguyen
